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Richard L. Charnle

Annie Rian (State Bar No. 260960)

CHARNLEY RIAN LLP

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Los Angeles, CA 90025

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ar@charleyrian.com

PLLC, PAUL NAPOLI LAW, PLLC,
NAPOLI KAISER

SHKOLNIK, PLLC

MARC IJ. WILLICK, an individual,
Plaintiff,
Vv.

NAPOLI BERN RIPKA &
ASSOCIATES, LLP, a purported
limited liability parsts ip; NAPOLI
BERN RIPKA SHKOL &
ASSOCIATES, LLP, a purpored
limited liability patiners ip; NAPOLI
BERN RIPKA HKOLNIK, LLP, a
Rt orted limited liability parmership;
OLI BERN RIPKA, LLP,a_
pu orted limited liability partnership;
OLI KAISER BERN, LLP, a
urported limited liability partnership;
C J. BERN, an individual; PA
J. NAPOLI, an individual; NAPOLI
BERN, LLP a limited liabili
partnershi ; NAPOLI, KAISER, BERN
ASSOCIATES, LIP, a limited
artnershi ; NAPOLI, BERN
CIATES, LLP, a limited
pee ; LAW OFFICES
JF NAPOLI BERN, LLP, a limited
liability partnership; LAW OFFICES
OF NAPOLI BERN RIPKA &
ASSOCIATES LLP, a limited liability
partnershi ; LAW OFFICES OF
APOLI BERN RIPKA SHKOLNIK
LLP, a limited liability partnership;

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& ASS
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(State Bar No. 70430)

Attorneys for Defendants, PAUL NAPOLI,

& ASSOCIATES, LLP,
AND NAPOLI LAW, PLLC, NAPOLI

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. 2:15-cv-00652-AB-CE

[Assigned to Hon. Andre Birotte, Jr.; and
agistrate Judge Charles F. Eick]

DECLARATION OF MARIE
KAISER NAPOLI IN SUPPORT OF
NAPOLI SHKOLNIK PLLC’S
MOTION TO DISMISS FOR LACK
OF PERSONAL JURISDICTION

HEARING DATE: 03/01/2019
TIME: 10:00 a.m.
COURTROOM: _— Hon. Andre Birotte

 

 

DECLARATION OF MARIE NAPOLI IN SUPPORT OF NAPOLI SHKOLNIK’S MOTION TO DISMISS

 
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oN A WA F&F WN |§ CO BO wAANQ A A F&F WY NY | O&O

LAW OFFICES OF NAPOLI BERN
RIPKA SHKOLNIK & ASSOCIATES

LLP, a limited liability partnership;
PASTERNACK TILKER NAPOLI
BERN, LLP, limited liabili
partnership; NAPOLI SHKOLNIK.
LLC, a professional limited liability
company; NAPOLI LAW PLLC, a
rofessional limited liability company;
AUL NAPOLI LAW PLLC, a
professions limited liability company;
ERN RIPKA LLP, a limited liability
arthership, MARC J. BERN &
ARTNERS LLP, a limited liabili
artnership; NAPOLI & BERN LLP a
imited liability partnership; MARC J.
BERN PLLC, a professional limited
liability com any; NAPOLI, KAISER
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& ASSOCIA LLP, a limited

liability partnership, NAPOLI, BERN,
KRENSTEL & GUZMAN, LLP, a
limited liability parinerehip WORBY,
GRONER, EDELMAN & NAPOLI,
BERN, LLP, a limited liabili
partnership; PAUL NAPOLI PLLC, a
professional limited liability company,
and DOES 1| through 50,

Defendants.

 

 

 

I, MARIE KAISER NAPOLI, hereby declare as follows:

1. Llama partner of defendant Napoli Shkolnik PLLC (“Napoli
Shkolnik”) and have personal knowledge of all matters stated herein.

2. Napoli Shkolnik was incorporated in the state of New York on July 6,
2015. Iam a named partner of Napoli Shkolnik, i.e. the “Napoli” in the firm’s
name refers to myself. Attached hereto as Exhibit A is a true and correct copy of
the Articles of Organization.

3. Paul Napoli joined the firm in July 2015 as Of Counsel to the firm, and

has held this title since that time. He does not have an ownership interest in Napoli

-1-
DECLARATION OF MARIE NAPOLI IN SUPPORT OF NAPOLI SHKOLNIK’S MOTION TO DISMISS

 
Case 2:15-cv-00652-AB-E Document 188-1 Filed 01/24/19 Page 3of9 Page ID #:2406

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Shkolnik. He does not have any managerial duties. Paul does not have access to
the bank accounts or business assets of Napoli Shkolnik.

4. Napoli Shkoinik is not handling any cases allegedly referred by
Plaintiff Marc I. Willick (“Willick”).

5. Napoli Shkolnik never entered into any agreements with Willick.

6. Napoli Shkolnik has a single California office located in the city of El
Segundo, the lease of which was transferred to Napoli Shkolnik in January 2016.
The California office has 5 attorneys and 3 support staff.

7. Incontrast, Napoli Shkolnik has two offices in the state of New York
with 28 attorneys and 80 support staff. Napoli Shkolnik has maintained an office in
Manhattan since January 1, 2015. The current address of the Manhattan office is
360 Lexington Avenue, New York, NY. Napoli Shkolnik has maintained an office
in Melville, NY since October 2, 2015.

8. The equity partners of Napoli Shkolnik are myself, Marie Kaiser
Napoli and Hunter Shkolnik. Neither myself, nor Hunter Shkolnik were equity
partners of Napoli Bern Ripka & Associates, LLP.

9. Napoli Shkolnik has never assumed the liability of Napoli Bern Ripka
& Associates, LLP.

10. Napoli Shkolnik has never received any transfer of assets from Napoli
Bern Ripka & Associates, LLP.

I declare under penalty of perjury under the laws of the United State of

America that the foregoing is true and correct.

Dated: January 23, 2019 A} . ape
Par

MARIE KAISER NAPOLI

-2-
DECLARATION OF MARIE NAPOLI IN SUPPORT OF NAPOLI SHKOLNIK’S MOTION TO DISMISS

 
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EXHIBIT A
Case 2:15-cv-00652-AB-E Document 188-1 Filed 01/24/19 Page5of9 Page ID #:2408

STATE OF NEW YORK

DEPARTMENT OF STATE

| hereby certify that the annexed copy has been compared with the
original document in the custody of the Secretary of State and that the same
is a true copy of said original.

WITNESS my hand and official seal of the
geen tees Department of State, at the City of Albany,

e NE *s
“ OF SW pe on July 7, 2015.

Cechay Gate

Anthony Giardina
Executive Deputy Secretary of State

   

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ARTICLES OF ORGANIZATION
OF
NAPOLI SHKOLNIK PLLC

A Professional Service Limited Liability Company
Under Section 1203 of the Limited Liability Company Law of the State of New York

THE UNDERSIGNED, being a natural person of at least eighteen (18) years of age
and acting as the organizer of the professional service limited liability company (the
"Company") hereby being formed under Section 1203 of the Limited Liability Company Law
of the State of New York (the "LLCL’), certifies that:

FIRST: The name of the Company is NAPOLI SHKOLNIK PLLC
SECOND: The profession(s) to be practiced by the Company is LAW.

THIRD: The names, license Numbers, and residential addresses of all individuals
who are to be the original members and or the original managers of the Company are:

Marie Napoli, 1985-4 Cedar Swamp Rd., Brookville, NY 11545
Hunter Shkolnik, 108 Centre Island Rd., Oyster Bay, NY 11771

FOURTH: The county within the State of New York in which the principal office of
the Company is to be located is Nassau.

FIFTH: The Secretary of State is designated as the agent of the Company upon
whom process against the Company may be served. The post office address within or
without the State of New York to which the Secretary of State shall mail a copy of any process
against the Company served upon such Secretary of State is THE PLLC, 250 Park Ave, Ste.
7045, New York, NY 10177.

IN WITNESS WHEREOF, I have subscribed these Articles of Organization and do hereby
affirm the foregoing as true under penalties of perjury, this 6% day of July, 2015.

Vy WR

TRUDI WINTER
Organizer

 

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Appellate Bivision of the Supreme Court
of the State of New York
Second Judicial Bepartment

3, Aprilanne Agostino, COlerk of the Appellate Hivision of the

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Supreme Court of the State of New Pork, Second Dudirial Beparintent,

do hereby certify that Hunter Jay Shkolnik was duly
licensed and adutitted tn practice as an Attorney and Counselor-at-Taw
in all the courts of the State, arording to the kuvs of the State and the
court tules and orbers, on the Sith day of Pebruary 1956,
has duly taken and subscribed the sath of office prescribed by law, Has
been enrolled in the Roll of Attorneys and Comnselore-at-Daw on file in
my offire, has duly registered with the administrative office of the

courts, and according to the recories of this court is in gond standing as

an Attorney and Counselor-at-iny,

Appellate Bivizion on March 30, 2015.

Bu Withwss Wherenf, J have hereunto set
my hand and affixed the seal of said

AD

 

Glerk of the Court

 

 
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Anpellate Bivision of the Supreme Court

of the State of New York
Second Judicial Bepariment

3, Aprilaune Agostino, Clerk uf the Appellate Division of the
Supreme Canrt of the State of New Pork, Second Judicial Department,
do hereby certify that Marie Napali was duly
licensed and admitted to practice as an Attorney aud Countselor-al-Law
in all the courts of the State, according to the laws of the State and tle
court rules aud arders, on the 23 rh day of March 1994,

has duly taken ad subscribed the oath of office prescribed by law, fas
been enrolled tn the Roll of Attorneys and Counselocs-at-Lauri on file in
my office, has duly registered with the ahininistrative office of the
courts, aud according to the records of this court is in good standing as

an Attorney and Cowmrselor-at-Caw.

Gu Witness Whereof, J lraue hereunto set
my band awd affixed the seal of said
Appellate Division an Damuary 21, 2015.

  

Clerk of the Court

 
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ARTICLES OF ORGANIZATION fA 7
OF
NAPOLI SHKOLNIK PLLC

A Professional Service Limited Liability Company
Under Section 1203 of the Limited Liability Law of the State of New York

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DRAWDOWN

FILED BY:

BlumbergExcelsior Corporate Services Inc.
236 Broadway
Menands, New York 12204

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" DEPARTMENT OF STATE
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